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                          UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION


IN RE: NATIONAL PRESCRIPTION
OPIATE LITIGATION
                                                       MDL No. 2804
THIS DOCUMENT RELATES TO:                              Case No. 17-md-2804
                                                       Judge Dan Aaron Polster
“Track Three Cases”1


            REVISED CASE MANAGEMENT ORDER FOR TRACK THREE

        The parties worked together to propose amended case management deadlines for the

cases designated by the Court for trial in Track Three (“CT3”), and came to agreement on most,

but not all, of those deadlines. With this Order, the Court adopts the parties’ agreed deadlines

and resolves those that were still in dispute. Certain dates provided for in Section K below are

the subject of separate stipulations between the parties, which are attached as exhibits to this

Order and are incorporated by reference.

        This Order supersedes the previous scheduling order only to the extent that new deadlines

for specific events are provided below or by stipulation. In all other respects, the Track Three

Case Management Order Nunc Pro Tunc dated June 8, 2020 (Dkt. # 3329) remains in effect.

        [Sections A through D are unchanged from Dkt. # 3329.]




1
 The Track Three cases are County of Lake, Ohio v. Purdue Pharma, L.P. et al., Case No. 1:18-
op-45032 (N.D. Ohio); and County of Trumbull, Ohio v. Purdue Pharma, L.P. et al., Case No.
1:18-op-45079 (N.D. Ohio).
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       E.      CT3 Fact Discovery Deadlines

               7.     February 26, 2021 - Deadline to serve third party subpoenas.

               8.     March 5, 2021 - Close of party fact discovery.

               9.     March 19, 2021 - Close of third-party discovery.

       [Section F is unchanged from Dkt. # 3329.]

       G.      Expert Discovery Deadlines

               1.     April 16, 2021 – Plaintiffs shall serve expert reports and, for each expert,
                      provide two proposed deposition dates between May 3, 2021 and May 21,
                      2021.

               2.     May 28, 2021 – Defendants shall serve expert reports and, for each expert,
                      provide two proposed deposition dates between June 14, 2021 and June
                      29, 2021.

       H.      Daubert and Dispositive Motions

               1.     July 5, 2021 – Deadline for Daubert and dispositive motions.2

               2.     July 30, 2021 – Deadline for responses to Daubert and dispositive
                      motions.

               3.     August 9, 2021 – Deadline for replies in support of Daubert and
                      dispositive motions.

       I.      Motions in limine

               1.     August 9, 2021 – Motions in limine due.

               2.     August 30, 2021 – Responses to motions in limine due.

               3.     September 7, 2021 – Replies to motions in limine due.

       [Section J is unchanged from Dkt. # 3329.]




       2
         The Parties have agreed that these motions will be due by July 5, 2021, regardless of the
federal holiday.


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         K.       Pre-Trial Deadlines

                  1.       July 1, 2021 - Parties to exchange additional proposed jury instructions,
                           verdict forms, and interrogatories.3

                  2.       July 8, 2021 - Parties to email jury questionnaire to the Special Master.

                  3.       [Deadline for exchange of affirmative deposition designations is included
                           in the parties’ stipulation.]

                  4.       Preliminary statements.

                           (a)      July 8, 2021 – Parties to exchange proposed joint preliminary
                                    statements.

                           (b)      July 15 , 2021 - Parties to email joint preliminary statement to
                                    Chambers.

                  5.       July 15, 2021 - Parties to file jury instructions, verdict forms, and
                           interrogatories, including objections where agreement is lacking.

                  6.       July 15, 2021 - Parties to email exhibit-list form to Chambers.

                  7.       Exchange of witness and exhibit lists

                           (a)      June 15, 2021 - Parties to exchange witness lists.

                           (b)      [Deadline for exchange of exhibit lists is included in the parties’
                                    stipulation.]

                           (c)      June 24, 2021 – Plaintiffs as a group will jointly identify no more
                                    than 50 fact witnesses whom they are most likely to call at trial.

                           (d)      July 1, 2021 – Defendants as a group will jointly identify no more
                                    than 50 fact witnesses whom they are most likely to call at trial.

                  8.       Filing of witness lists and exhibit lists

                           (a)      July 26, 2021 - Parties to file witness lists.

                           (b)      September 10, 2021 – Parties to file exhibit lists.




         3
          The Court has already received copious submissions on these topics from the parties in this and other
Case Tracks. The parties are directed not to submit materials that are repetitive or that contravene the Court’s earlier
conclusions on jury instructions.


                                                           3
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          9.    [Deadline to exchange responsive deposition designations, objections to
                affirmative designations, and non-repetitive and non-responsive
                designations from depositions previously affirmatively designated during
                this period is included in the parties’ stipulation.]

          10.   August 9, 2021 - Parties to file proposed questions for the Court’s voir
                dire.

          11.   August 12, 2021 - Deadline to depose “most likely” witnesses who were
                not earlier deposed. A party must make a showing of good cause why they
                did not take the deposition of such a witness during the regular discovery
                period. Such depositions may also be taken by agreement. A party must
                show good cause to call at trial a witness who was not among the
                identified “most likely” trial witnesses.

          12.   August 19, 2021 - Trial briefs due.

          13.   [Deadline for exchange of final deposition designations and objections is
                included in the parties’ stipulation.]

          14.   August 23, 2021 – Deadline to file objections to witnesses.

                (a)    [Deadline to file objections to exhibits is included in the parties’
                       stipulation.]

          15.   [Deadline to file objections to deposition designations is included in the
                parties’ stipulation.]

                (a)    [Deadline to submit advance exhibit objections is included in the
                       parties’ stipulation.]

          16.   September 17, 2021 - Completed jury questionnaires to be distributed to
                trial counsel.

          17.   September 21, 2021 - Court and trial counsel to review jury
                questionnaires.

          18.   September 28, 2021 - Final pretrial conference.




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      L.     Trial

             1.      September 29, 2021 - Jury selection begins.

             2.      October 4, 2021 - Opening statements.

IT IS SO ORDERED.

                                          /s/ Dan Aaron Polster
                                          DAN AARON POLSTER
                                          UNITED STATES DISTRICT JUDGE

Dated: January 6, 2020




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